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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Art Akiane LLC
                                     Plaintiff,
v.                                                      Case No.: 1:19−cv−02952
                                                        Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 2, 2020:


         MINUTE entry before the Honorable Jeffrey Cole: The opinion in this case
relating to, among other things, various aspects of discovery, was about to be issued.
Yesterday, the defendants sought permission to file a four page Motion to Supplement
their Motion to Compel. [178]. Attached to the motion was an article relating to alleged
litigation funding in this case. [178]. The Motion to Supplement is granted. No Response
from the plaintiff will be necessary. And the filing will not change the results of the
discovery motion under consideration as will be explained in the forthcoming Opinion.
Mailed notice (yt)




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